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                                    UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF SOUTH CAROLINA
IN RE:                                                    CASE NO: 19-05309-JW
                                                          (CHAPTER 13)
SHIRLEY THEREASA SHERROD MD PC
                                                          TRUSTEE'S NOTICE OF INTENT TO REQUEST
                                                          DISMISSAL AT CONFIRMATION HEARING IF
                                                          DOCUMENTS ARE NOT PROVIDED OR FOR
                            Debtor                        FAILURE TO ATTEND MEETINGS OR HEARINGS

NOTICE OF MOTION TO DISMISS. The Chapter 13 Trustee has filed papers with the court to dismiss this
Chapter 13 case at confirmation hearing if all documents are not timely provided .

Your rights may be affected. You should read these papers carefully and discuss them with your attorney , if
you have one in this bankruptcy case. (If you do not have an attorney, you may wish to consult one.)

The Chapter 13 Trustee hereby gives notice that the Debtor's failure to meet the requirements of the code may result
in the dismissal of the case at confirmation hearing:

Pursuant to 11 U.S.C. § 521 and 1308, Fed. R. Bankr. P. 1007, 3015(b) and 4002, certain information and
documentation (including, but not limited to, all Schedules and Statements, and a Chapter 13 Plan) are required to be
filed or provided to the Chapter 13 Trustee within the time periods prescribed therein , or the case dismissed after
notice and hearing pursuant to 11 U.S.C. §1307(c) and Fed. R. Bankr. P. 1017(c).

Pursuant to 11 U.S.C. § 343, the Debtor is required to appear at the Meeting of Creditors , at the date and time
indicated in the “Notice of Chapter 13 Bankruptcy Case” issued by the Clerk of the Bankruptcy Court . Failure to
attend constitutes cause to dismiss under 11 U.S.C. §1307(c).

Pursuant to 11 U.S.C. §1326(a)(1), the Debtor is required to commence making payments proposed by the plan to
the Trustee not later than 30 days after the petition for relief was filed . Pursuant to 11 U.S.C.§1307(c)(4), failure to
commence making timely payments is cause to dismiss the case .

Certain additional information and documents have also been determined by the Court to be necessary to
consideration of the confirmation of a Chapter 13 plan . If the Chapter 13 Trustee has requested any of the
information/documents listed below at the 11 U.S.C. § 341 meeting, or at any time thereafter in writing, it must be
provided to the Trustee at least seven (7) days prior to the original confirmation hearing . It is the responsibility of the
Debtor to ensure that the required documents are provided to the Trustee (and filed, as necessary). These documents
include, but are not limited to, the following:

    1. A Modified Plan with service as required under SC LBR 3015-2 , as necessary to meet all Chambers
    Guidelines, Local Rules, Operating Orders, and/or the Bankruptcy Code.

    2.   Wage order statement or proof of TFS Billpay enrollment in compliance with Chambers Guidelines .

    3.   Proof that all payments pursuant to the plan have made through the date of confirmation .

    4.   The most recent real estate tax appraisals covering all parcels of debtor's real property .

    5.   Post-petition domestic support certificate signed and dated through the month of the confirmation hearing .

     6. The amount of the most recent year's income tax refund received by the Debtor , for both state and federal
returns.
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    7.   Proof that all required income tax returns have been filed .

    8. Final, signed copies of the most recent year's federal and state income tax returns (including all attached
    schedules).

    9.   Amended Schedules if identified as necessary by the Trustee .

    10. Amended Statement of Financial Affairs if identified as necessary by the Trustee .

    11. Amended Petition or Your Statement About Your Social Security Numbers correcting the Debtor's name
    and/or social security number if identified as necessary by the Trustee .

    12. In any case involving a self-employed debtor , a completed self-employment questionnaire , business budget,
    and final, signed copies of the business's most recent year's federal and state income tax returns , including all
    attached schedules.

    13. Proof of charitable contributions made by the Debtor .

    14. An itemization of unreimbursed medical expenses .

    15. An itemization of a non-filing spouse's monthly expenses , including the balance owed on each debt.

    16. Copies of the Debtor's pay stubs and W-2 forms .

    17. Any other item not specified above which is reasonably related to the administration of the case and which
    the Trustee requested either orally at the 11 U.S.C § 341 meeting or in writing prior to the confimation hearing .

NOW, THEREFORE, pursuant to 11 U.S.C. §1307(c), the Chapter 13 Trustee hereby requests that the Court dismiss
the case at confirmation hearing, scheduled by the clerk on January 09, 2020 at 10:00 am, or at any continued
confirmation hearing, without further notice, if the Debtor fails to provide and/or file documents as above , or fails
to attend meeting of creditors or any mandatory hearing . Failure to appear at the hearing may be construed as a
waiver of the right to object to the dismissal of the case .

Nothing in this Notice should be construed as a waiver of the Trustee’s right to file a separate motion to dismiss the
case and set it for different hearing date .




Dated: October 17, 2019                                           /s/ James M. Wyman
                                                                  Chapter 13 Trustee
                                                                  PO Box 997
                                                                  Mt. Pleasant, SC 29465-0997
                                                                  Phone: (843) 388-9844
                                                                  Fax: (843) 388-9877
                                                                  Email: 13office@charleston13.com
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                                 CERTIFICATE OF SERVICE

 The undersigned states that he/she served the Trustee's Motion to Dismiss on the on the parties
 listed below by mailing to them, on this date, copies of the motion, first class, postage prepaid,
 and addressed as follows:

SHIRLEY THEREASA SHERROD MD PC
PO BOX 809
CHARLESTON, SC 29455




Date: October 17, 2019                                  /s/ Russell Jackson, II
                                                        PO Box 997
                                                        Mt. Pleasant, SC 29465-0997
                                                        Phone: (843) 388-9844
                                                        Fax: (843) 388-9877
                                                        Email: 13office@charleston13.com
